IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

 

RUTH SMITH, Individually and as Widow
for the Use and Benefit of Herself and the
Next of Kin of RICHARD SMITH, Deceased, Case #: 3:05-00444
Judge Trauger

Plaintiff,

-against-

a division of Warner-Lambert Company

and Warner-Lambert Company LLC,
WARNER-LAMBERT COMPANY,
WARNER-LAMBERT COMPANY LLC and
JOHN DOE(S) 1-10,

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PFIZER INC., PARKE-DAVIS, }

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Defendants. )
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STATEMENT OF QUALIFICATIONS FOR RONALD WM. MARIS, PED.

Dr. Ronald Maris is the Distinguished Professor Emeritus of Psychiatry, Family
Medicine, and Sociology at the University of South Carolina School of Medicine. He isa
board-certified forensic suicide expert, who has spent over 40 years studying, researching
and publishing on treating and preventing suicide.

Dr. Maris received his Ph.D. (Social-Psychology) from the University of Illinois.
While he is not a physician, Dr. Maris has worked continuously at medical schools since
1968 -- teaching, training and supervising medical students and resident physicians in
suicide assessment and treatment. For example, Dr. Maris was the Director of the Johns
Hopkins M.D.-Ph.D. Program in Psychiatry.

Dr. Maris has a total of ten years of post-doctorate education at Johns Hopkins
School of Medicine in Baltimore, MD, and psychiatric and medical training in Germany
(as a World Health Organization Fellow), and at medical schools in Canada, Vienna,
Austria, and Pittsburgh. Before coming to South Carolina, he was an Associate Professor
of Psychiatry at the Johns Hopkins Medical School in Baltimore, Maryland.

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Dr. Maris has written or edited 20 books on suicide and published about 75
articles on suicide in medical and scientific journals. He was Editor-in-Chief of the only
scientific journal on suicide for 16 years and Past-President of the American Association
of Suicidology. In 2008, Dr. Maris was invited by the United States Congress to speak
on suicide in the military and recommended treatment programs to the Veterans Affairs
Committee.

In addition to his academic experiences, Dr. Maris has also had clinical and
hands-on treatment experiences with suicide. For 5 years, he was a Deputy Medical
Examiner in Baltimore investigating suicides for the Medical Examiner. Dr. Maris has
also been retained five times by the U.S. Department of Justice as their suicide expert.
He has worked as a consultant with the Federal Food & Drug Administration (FDA)
reviewing drug company clinical trials to determine whether anti-depressant drugs could
cause suicide and, thus, should have a “black box" suicide warning on their labels.

Respectfully submitted,

THE LANIER LAW FIRM, P.C.

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the forgoing was served via the
Court’s ecf filing system on this 27th day of April, 2010 on the following:

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